UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 JANE DOE,
                                 Plaintiff,

                     -against-
                                                                 23-CV-10628 (JGLC)
 SEAN COMBS, HARVE PIERRE; THE
 THIRD ASSAILANT; DADDY’S HOUSE                               NOTICE OF INITIAL
 RECORDINGS, INC. and BAD BOY                               PRETRIAL CONFERENCE
 ENTERTAINMENT HOLDINGS, INC.,
                                 Defendants.


JESSICA G. L. CLARKE, United States District Judge:
         Unless and until the Court orders otherwise, counsel for all parties shall appear for an
initial pretrial conference with the Court on March 19, 2024 at 2:00 p.m. The conference will be
held remotely by Microsoft Teams. All counsel must familiarize themselves with the Court’s
Individual Rules and Practices, which are available at https://nysd.uscourts.gov/hon-jessica-g-l-
clarke. All parties are required to register promptly as filing users on ECF.

        Counsel are directed to confer with each other prior to the conference regarding
settlement and each of the other subjects to be considered at a Federal Rule of Civil Procedure 16
conference. Additionally, in accordance with Paragraph 3(c) of the Court’s Individual Rules and
Practices, the parties are hereby ORDERED to file on ECF a joint letter, described below, as
well as a proposed Civil Case Management Plan and Scheduling Order attached as an exhibit to
the joint letter, no later than March 12, 2024. The parties shall use this Court’s form Proposed
Civil Case Management Plan and Scheduling Order, which is also available at
https://nysd.uscourts.gov/hon-jessica-g-l-clarke.

       The joint letter shall not exceed five pages, and shall provide the following information in
separate paragraphs:

       (1)     A statement indicating whether the parties believe they can do without an initial
               pretrial conference altogether. If so, the Court may enter a case management plan
               and scheduling order and the parties need not appear;

       (2)     A brief statement of the nature of the action and the principal defenses thereto,
               and the major legal and factual issues that are most important to resolving the
               case, whether by trial, settlement or dispositive motion;

       (3)     A brief explanation of why jurisdiction and venue lie in this Court. In any action
               in which subject matter jurisdiction is founded on diversity of citizenship pursuant
               to Title 28, United States Code, Section 1332, the letter must explain the basis for
               the parties’ belief that diversity of citizenship exists. Where any party is a
               corporation, the letter shall state both the place of incorporation and the principal
               place of business. In cases where any party is a partnership, limited partnership,
               limited liability company or trust, the letter shall state the citizenship of each of
               the entity’s members, shareholders, partners, and/or trustees. See, e.g.,
               Handelsman v. Bedford Vill. Assocs. L.P., 213 F.3d 48 (2d Cir. 2000). If this
               information is lengthy, it may be included in an Appendix to the letter, not to be
               included in the page limit;

       (4)     A statement of all existing deadlines, due dates and/or cut-off dates;

       (5)     A brief description of any outstanding motions;

       (6)     A brief description of any discovery that has already taken place and of any
               discovery that is necessary for the parties to engage in meaningful settlement
               negotiations;

       (7)     A brief description of the status of prior settlement discussions, without disclosing
               exact offers and demands;

       (8)     Any other information that the parties believe may assist the Court in advancing
               the case to settlement or trial, including, but not limited to, a description of any
               dispositive issue or novel issue raised by the case.

        If this case has been settled or otherwise terminated, counsel are not required to submit
such a letter or to appear, provided that a stipulation of discontinuance, voluntary dismissal or
other proof of termination is filed on the docket prior to the date of the conference, using the
appropriate ECF Filing Event. See SDNY ECF Rules & Instructions §§ 13.17-13.19 & App’x A,
available at https://www.nysd.uscourts.gov/electronic-case-filing.

         In accordance with the Court’s Individual Rules and Practices, requests for an extension
or adjournment may be made only by letter-motion filed on ECF and must be received at least 48
hours before the deadline or conference. The written submission must state (1) the original date
and the new date requested; (2) the number of previous requests for adjournment or extension;
(3) whether these previous requests were granted or denied; (4) the reason for the extension or
adjournment; (5) whether the adversary consents and, if not, the reasons given by the adversary
for refusal to consent; and (6) to the extent applicable, the date of the parties’ next scheduled
appearance before the Court. Unless counsel are notified that the conference has been adjourned,
it will be held as scheduled.




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        Counsel who have entered a notice of appearance as of the issuance of this order are
directed (1) to notify counsel for all other parties in this action who have not yet appeared
by serving upon each of them a copy of this order and the Court’s Individual Rules and
Practices forthwith, and (2) to file proof of such notice with the Court. If unaware of the
identity of counsel for any of the parties, counsel receiving this order must forthwith send a copy
of this order and the Court’s Individual Rules and Practices to that party personally.

Dated: December 19, 2023
       New York, New York

                                                          SO ORDERED.




                                                          JESSICA G. L. CLARKE
                                                          United States District Judge




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